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                                          #:28875



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11
12
13                              UNITED STATES DISTRICT COURT
14                            CENTRAL DISTRICT OF CALIFORNIA
15                                    SOUTHERN DIVISION
16
17     UNITED STATES OF AMERICA,                    Case No. 8:19-CR-61-JVS
18                 Plaintiff,                       Honorable James V. Selna
19           v.                                     REPORT OF CARL S. SABA, MBA,
                                                    CVA, ASA, ABV
20     MICHAEL JOHN AVENATTI
       ,
21
                   Defendant.
22
23
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                                        #:28876



1            Pursuant to this Court’s Order dated March 13, 2025 (Docket no. 1186),
2      Defendant hereby files the enclosed Report of Carl S. Saba, MBA, CVA, ASA, ABV.
3
                                            Respectfully submitted,
4
                                            CUAUHTEMOC ORTEGA
5                                           Federal Public Defender
6
7      DATED: March 28, 2025                By: /s/ Adithya Mani
8                                           ADITHYA MANI
                                            MARGARET A. FARRAND
9                                           Deputy Federal Public Defender
                                            Attorney for MICHAEL AVENATTI
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March 26, 2025

Office of the Federal Public Defender
Central District of California
321 East 2nd Street
Lost Angeles, California 90012-4202

                                  I. SCOPE OF ENGAGEMENT
I have been retained by Mr. Michael Avenatti’s attorneys at the Office of the Federal Public Defender
(“Counsel”) to calculate the fair market value of Em Cosmetics, LLC (“Company” or “Em
Cosmetics”) and associated intellectual property as of September 17, 2017 (“Valuation Date”) – the
date the Company was acquired by Michelle Phan from Personalized Beauty Discovery, Inc. dba Ipsy
(“Ipsy”). Upon review of the initial and subsequent documents provided, including the asset and stock
purchase agreements 1, Em Cosmetics’ 2017 and 2018 Tax Returns 2, Em Cosmetics’ 2017 and 2018
financials, 3 and Ipsy’s 2014-2018 audited financials, 4 I have determined that there is insufficient
information to estimate the fair market value of Em Cosmetics using accepted valuation approaches.
All approaches considered are more fully described in this report.

The purchase agreement 5 and the IPSY audited financials 6 did however provide insights into the value
Michelle Phan family members realized from buy-out of their Ipsy Common stock on September 17,
2017. Additional details on this transaction are more fully described in this report. This analysis and
report was performed solely for Mr. Michael Avenatti’s sentencing. The resulting information should
not be used for any other purpose or by any other party.

                               II. VALUATION METHODOLOGIES
Em Cosmetics was purchased from L’Oreal in October 2015. 7The original cosmetic product line was
discontinued at the end of 2016 and restarted in April 2017 with new product lines and business
model. 8 The individual LLC for Em Cosmetics was established in October 2017. 9

Valuation of a business is dependent on prospective buyers’ expectations of future profits and cash
flows that the business can reasonably be expected to generate, and the rate of return buyers expect
on their investment. In this instance, I was provided with only 3 months of financial results for Em
Cosmetics for 2017, which span the period from when the Company was acquired by Ms. Phan in
September 2017, to calendar year end. In addition, I was provided with a year of financial results for

1 IPSY-000275
2 PHAN_01, PHAN_03
3 PHAN_02, PHAN_04
4 IPSY-000386
5 IPSY-000275
6 IPSY-000386
7 IPSY-000317-000386
8 IPSY-000326-000386
9 EM Cosmetics_Michelle Phan
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Em Cosmetics in 2018. Given that this financial data was all after the Valuation date and that it was
for a very short period of time, it did not allow me to assess trends in financial performance of the
Company. I also do not have any information on how the new product lines that were established in
April 2017 overlap with or are similar to the product lines that Em Cosmetics offered during its years
of operations within L’Oreal or Ipsy. Furthermore, I was not provided with any management prepared
budgets, projections, or forecasts, which are particularly important for early-stage businesses where
past results often do not reasonably predict future expectations. As a company matures, revenue
growth rates generally decline, and operating profit margins generally improve.

Generally accepted valuation approaches for a business fall into three categories; income approaches,
market approaches, and cost / asset approaches. The income approach requires estimation of future
profits and cash flows of a business, and the annual rate of return that investors require on their
investment in the business. The market approach values a company by comparison with transactions
in similar businesses or assets. The asset approach values a company based on the recoverable value
of its underlying assets minus its liabilities. Due to the limitations in the documents and information
that was provided to me, I am unable to reliably apply any of these valuation methods.

                                         III. STOCK TRANSACTION
In exchange for Em Cosmetics assets including trademarks, intellectual property, and inventory,
Michelle Phan forfeited 65,000 shares of common stock in Ipsy. As part of this transaction, Michelle
Phan and family members (Pratigya “Promise” Phan and Long Tran) (collectively “Family
Members”) 10 were bought out of their stock in Ipsy at $76 per share in two parts – September 18,
2017 11 and September 18, 2018 (“Stock Transaction”). In Ipsy’s financial statements which were
audited by KPMG, it was noted that these stock buy-outs were at a price that was above fair market
value. 12

In the Stock Transaction, Michelle Phan sold 468,753 shares of Ipsy Common Stock. 13 She in turn
received $27,478,940 for 361,575 shares on September 18, 2018 and $8,146,288 for the remaining
107,188 shares on September 18, 2018. 14 This transaction resulted in a price paid of $76 per share.
However, Michelle Phan exercised options on 52,855 options for $64,272 in exercise proceeds that
she had to pay to Ipsy. Factoring in the option exercise, Michelle Phan received net proceeds of $75.82
per share in the first transaction and $76.00 per share in the second transaction. Additional details on
this transaction can be found in Exhibit C.

Long Tran sold 14,947 shares of Ipsy Common Stock in two parts. Tran sold 13,000 shares for
$988,000 on September 18, 2017, 15 and 1,947 shares for $147,972 on September 18, 2018 16. This
transaction resulted in a value of $76.0 per share. However, Long Tran exercised 5,000 options with

10 IPSY-000275
11 All stock and asset agreements were signed and dated September 17, 2017 so this is the date decided for the valuation

date. However, the transactions in the signed and dated agreements were set to occur on September 18, 2017 & September
18, 2018.
12 IPSY-000361-000386
13 IPSY 000056-000275
14 IPSY 000057-000275
15 IPSY 000042-000275
16 IPSY 000043-000275




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exercise proceeds of $3,250. 17 Factoring in the options exercise price to the first transaction on
September 18, 2017, Long Tran received $75.75 per share in the first transaction. Additional details
on this transaction can be found in Exhibit C.

Pratigya “Promise” Phan sold 6,500 shares of Ipsy Common Stock 18 on September 18, 2017 for
$475,000. This resulted in a $76.00 per share price in this transaction. Additional details on this
transaction can be found in Exhibit C.

Upon reviewing these stock transactions (Exhibit C), it is evident that each share of Common Stock
in Ipsy on September 17, 2017 was repurchased by Ipsy from Phan and family members at $76.00 per
share (excluding reduction for option-exercising costs). This $76.00 per share transaction price was
noted as “higher than the per-share value at the time of repurchase” by KPMG 19 – Ipsy’s auditors.

                            IV. ACTUAL VS FAIR MARKET VALUE
KPMG noted that 452,815 shares were repurchased in August and September of 2017 by Michelle
Phan and Family members for $29.3 million – a net consideration price of $64.71 per share. This is
lower than $76.00 per share because it is reduced by option exercise proceeds, and is further diluted
by the inclusion of 65,000 shares which were not repurchased, but exchanged for Em Cosmetics
assets. KPMG noted that the actual fair market value of the shares that transacted was $12.9 million
– indicating Ipsy overpaid by $16.4 million for the 452,815 shares in 2017. Assuming the fair value of
these shares was $12.9 million at the time, then the fair market value was $28.49 per share.

KPMG also noted that the remaining 109,135 shares that were to transact in the future at $8.3 million
in September 2018 had a fair market value of $3.1 million – indicating Ipsy agreed to overpay for these
shares by approximately $5.2 million. Assuming the fair market value of these shares was $3.1 million,
the fair market value was $28.41 per share.

According to the Stock Repurchase Agreements that I reviewed, Ipsy repurchased 561,950 shares 20 at
$76 per share (Exhibit C) for a total consideration of $42,708,200. Assuming the fair market value was
$28.49 per share using KPMG’s disclosure (Exhibit C), the actual value of the 561,950 shares was
$16,009,008. Therefore, Michelle Phan and family members received $26,699,112 in excess
consideration in the share repurchase transaction on September 17, 2017. I understand that this
transaction was negotiated simultaneously with the purchase of the Em Cosmetics assets on the same
date.




17 IPSY 000043-000275
18 IPSY 000070-000275
19 IPSY 000361-000386
20 IPSY 000361-000386




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                                         V. CONCLUSION
Ultimately, I was unable to accurately and reliably derive the fair market value of Em Cosmetics using
accepted traditional valuation methods given the lack of data available. However, the stock transaction
enabled me to derive both the actual price paid and the fair market value (as calculated by KPMG)
paid to Michelle Phan and family members. Ultimately, Michelle Phan and family members received
$26,699,112 in excess consideration for their shares that were repurchased by Ipsy on September 17,
2017, which KMPG recorded as compensation expense to Phan and family members.

Very truly yours,

HEMMING MORSE, LLC




Carl S. Saba, MBA, CVA, ASA, ABV
Partner




                                                                                                     4
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                                              #:28881
Em Cosmetics, LLC                                                                         Exhibit A
Business Valuation                                                                Summary of Values
As of September 17, 2017                                                         (thousands of USD)




    Stock Purchase Consideration Paid to Phan Family Members in 2017         $         42,708
    Less: Fair Value of Ipsy Stock @ $28.49 Per Share                                 (16,009)
    Excess Consideration Paid to Phan Family Members (Exhibit C)             $         26,699
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                                           #:28882
      Em Cosmetics, LLC                                                     Exhibit B.1
      Business Valuation                                     Historical Balance Sheets
      As of September 17, 2017                                    (thousands of USD)


                                                          As of               As of
                                                         12-31-17            12-31-18
      Assets
        Current Assets
            Current Operating Assets
               Cash & Equivalents                    $        2,605      $        7,241
               Accounts Receivable                              167                 -
               Inventory                                        366                 189
               Prepaid Assets                                     10                222
               Other Current Assets                             -                   -
            Total Current Operating Assets                    3,149               7,653
            Total Current Non-Operating Assets                  -                   -
        Total Current Assets                                  3,149               7,653

         Total Fixed Assets - Net                               -                   -

         Non Current Assets
            Total Intangible Assets - Net                       -                   -
            Total Long Term Receivables                         -                   -
            Total Other Non-Current Assets                      -                   -
         Total Non Current Assets                               -                   -

      Total Assets                                   $        3,149      $        7,653

      Liabilities and Equity:

      Liabilities
         Current Liabilities
               Current Operating Liabilities
               Total Current Operating Liabilities                  47              189
               Total Current Debt Obligations                   -                   -
         Total Current Liabilities                                  47              189

         Non Current Liabilities
            Total Long Term Debt                                -                   -
            Total Other Non Current Liabilities                 -                   -
         Total Non Current Liabilities                          -                   -

      Total Liabilities                                             47              189

      Total Equity                                            3,102               7,464

      Total Liabilities and Equity                   $        3,149      $        7,653
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                                         #:28883
           Em Cosmetics, LLC                                                   Exhibit B.2
           Business Valuation                                Historical Income Statements
           As of September 17, 2017                                    (thousands of USD)


                                                        3.5 Months           FYE
                                                         12-31-17          12-31-18

           Revenue
              Retail                            $              262     $              844
              Shipping                                         -                      -
              Shipping                                         -                      -
              Refunds, Discounts, & Chargebacks                  (0)                  (27)
           Total Revenue                        $              262     $              817

           Cost of Goods Sold
              Products                                          29                    179
              Packaging & Fulfillment                           72                    166
              CC & Marketplace Fees                             13                     72
              COGS4                                            -                      -
           Total Cost of Goods Sold                            114                    417

           Gross Profit                                        148                    399

           Operating Expenses
              Salaries and Wages                                59                   227
              Benefits & Employer Taxes                         10                    50
              Marketing                                          0                   112
              Professional Services/Subcontractin               69                   339
              Travel & Training                                 20                    17
              Office Expenses                                   11                    16
              Software                                           0                     1
              Equipment                                          9                     2
              R&D                                              -                     -
              Other Expenses                                    43                   792
           Total Operating Expenses                            221                 1,556

           Officers' Compensation
               Salaries                                         -                     -
               Bonuses                                          -                     -
           Total Officers' Compensation                         -                     -

           EBITDA                                               (73)              (1,157)

           Depreciation & Amortization
              Depreciation                                      -                     -
              Amortization                                      -                     -
           Total Depreciation & Amortization                    -                     -

           EBIT                                                 (73)              (1,157)

           Miscellaneous Income/(Expense)
              Interest Income                                   -                      13
              Gain/(Loss) on Sale of Fixed Assets               -                     -
              Other Income/(Expense)                            -                     -
           Total Misc Inc/(Exp)                                 -                      13

           Interest Expense                                     -                     -

           Pre-Tax Income                                       (73)              (1,143)
              Less: Income Taxes/(Benefit)                      -                    -

           Net Income/(Loss)                        $           (73)   $          (1,143)
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                                           #:28884
             Em Cosmetics, LLC                                                      Exhibit B.3
             Business Valuation                            Adjustments to Financial Statements
             As of September 17, 2017                                      (thousands of USD)


                                                            3.5 Mos.
                                                           Annualized             FYE
                                                            12-31-17            12-31-18
             Balance Sheet Adjustments:
                Cash & Equivalents                     $         (2,605)    $          -
                Accounts Receivable                                (167)               -
                Inventory                                          (192)               -
                Prepaid Assets                                      (10)               -
                Accounts Payable                                    -                  -
                Deferred Revenue                                      (7)              -
                Other Current Liabilities                             (5)              -
                Net Equity Adjustment                            (2,961)               -
             Total Balance Sheet Adjustments           $         (2,974)    $          -

             Income Statement Adjustments:

             Revenue
                Retail                                 $            649     $          -
                Shipping                                            -                  -
                Wholesale                                           -                  -
                Refunds, Discounts, & Chargebacks                     (1)              -
             Total Revenue                             $            648     $          -

             Cost of Goods Sold
                Products                                              72               -
                Packaging & Fulfillment                             178                -
                CC & Marketplace Fees                                 32               -
                COGS4                                               -                  -
             Total Cost of Goods Sold                               282                -

             Gross Profit                                           366                -

             Operating Expenses
                Salaries and Wages                                  145                -
                Benefits & Employer Taxes                             25               -
                Marketing                                              0               -
                Professional Services/Subcontracting                170                -
                Travel & Training                                     50               -
                Office Expenses                                       28               -
                Software                                               0               -
                Equipment                                             22               -
                R&D                                                 -                  -
                Other Expenses                                      107                -
             Total Operating Expenses                               546                -

             Officers' Compensation
                 Salaries                                            -                 -
                 Bonuses                                             -                 -
             Total Officers' Compensation                            -                 -

             EBITDA                                                (180)               -

             Total Depreciation & Amortization                       -                 -

             EBIT                                                  (180)               -

             Miscellaneous Income/(Expense)
                Interest Income                                      -                 (13)
                Gain/(Loss) on Sale of Fixed Assets                  -
                Other Income/(Expense)                               -                 -
             Total Misc Inc/(Exp)                                    -                 (13)

             Interest Expense                                        -                 -

             Pre-Tax Income                                        (180)               (13)
                Less: Income Taxes/(Benefit)                        -                  -

             Total Income Statement Adjustments        $           (180)    $          (13)




             Notes:
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                                                             #:28885
    Em Cosmetics, LLC                                                                                                             Exhibit B.4
    Business Valuation                                                                                               Adjusted Balance Sheets
    As of September 17, 2017                                                                                             (thousands of USD)


                                                         Subject Company -          Subject Company Common        Benchmark Common Size
                                                              Adjusted                         Size
                                                        As of          As of           As of         As of         RMA [2]       BizMiner [3]
                                                       09-17-17      12-31-18         09-17-17      12-31-18       2017-18          2017
    Assets
      Current Assets
          Current Operating Assets
             Cash & Equivalents              $               -        $   7,241           0.0%        94.6%             14.1%           22.7%
             Accounts Receivable                             -              -             0.0%         0.0%             24.0%           12.9%
             Inventory                                       175            189         100.0%         2.5%             32.6%           14.5%
             Prepaid Assets                                  -              222           0.0%         2.9%                NA              NA
             Other Current Assets                            -              -             0.0%         0.0%              2.9%            5.7%
          Total Current Operating Assets                     175          7,653         100.0%       100.0%             73.6%           55.9%
          Total Current Non-Operating Assets                 -              -             0.0%         0.0%                NA              NA
      Total Current Assets                                   175          7,653         100.0%       100.0%             73.6%           55.9%

       Total Fixed Assets - Net                              -               -            0.0%         0.0%             15.7%           14.1%

       Non Current Assets
          Total Intangible Assets - Net                      -               -            0.0%         0.0%              3.8%              NA
          Total Long Term Receivables                        -               -            0.0%         0.0%                NA              NA
          Total Other Non-Current Assets                     -               -            0.0%         0.0%              6.9%           30.0%
       Total Non Current Assets                              -               -            0.0%         0.0%             10.7%           30.0%

    Total Assets                                   $         175      $   7,653         100.0%       100.0%            100.0%         100.0%

    Liabilities and Equity:

    Liabilities
       Current Liabilities
             Current Operating Liabilities
                Accounts Payable                   $             34   $     155          19.5%         2.0%             16.5%            9.0%
                Deferred Revenue                             -                20          0.0%         0.3%                NA              NA
                Other Current Liabilities                    -                13          0.0%         0.2%             10.0%            2.3%
             Total Current Operating Liabilities                 34         189          19.5%         2.5%             26.5%           11.2%
             Total Current Debt Obligations                  -              -             0.0%         0.0%             11.7%            3.8%
       Total Current Liabilities                                 34         189          19.5%         2.5%             38.2%           15.0%

       Non Current Liabilities
          Total Long Term Debt                               -               -            0.0%         0.0%             11.3%           12.3%
          Total Other Non Current Liabilities                -               -            0.0%         0.0%              4.0%              NA
       Total Non Current Liabilities                         -               -            0.0%         0.0%             15.3%           12.3%

    Total Liabilities                                            34         189          19.5%         2.5%             53.5%           27.3%

    Equity
       Owners Equity                                       3,175           8,675        1816.7%      113.4%                NA              NA
       Retained Earnings                                  (3,034)            (67)      -1736.2%       -0.9%                NA              NA
       Net Income                                            -            (1,143)          0.0%      -14.9%                NA              NA
       Retained Earnings                                     -               -             0.0%        0.0%                NA              NA

    Total Equity                                             141          7,464          80.5%        97.5%             46.5%           72.7%

    Total Liabilities and Equity                   $         175      $   7,653         100.0%       100.0%            100.1%         100.0%


    Notes:
    [1] Source: Refer to report for selection of public comparables group. Figures represent average of dataset as reported by S&P CapitalIQ.
    [2] Source: Risk Management Association; NAICS 325620: Toilet Preparation Manufacturing for firms with annual revenues between $2MM - $10
    [3] Source: BizMiner Industry Financial Analysis Profile; NAICS 325620: Cosmetics Manufacturers for firms with annual revenues between $1MM
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                                                              #:28886
Em Cosmetics, LLC                                                                                                                        Exhibit B.5
Business Valuation                                                                                                       Adjusted Income Statements
As of September 17, 2017                                                                                                         (thousands of USD)


                                                                                    Subject Company Common
                                                                                                                        Benchmark Common Size
                                               Subject Company - Adjusted                      Size
                                                 3.5 Mos.                            3.5 Mos.
                                                Annualized       FYE                Annualized        FYE                 RMA [2]       BizMiner [3]
                                                 12-31-17     12-31-18               12-31-17       12-31-18              2017-18          2017
Revenue
   Retail                                       $        911     $        844             100.1%           103.3%                NA               NA
   Shipping                                              -                -                 0.0%             0.0%                NA               NA
   Wholesale                                             -                -                 0.0%             0.0%                NA               NA
   Refunds, Discounts, & Chargebacks                       (1)            (27)             -0.1%            -3.3%                NA               NA
Total Revenue                                            910              817             100.0%           100.0%            100.0%           100.0%

Cost of Goods Sold
   Products                                              101              179              11.1%            22.0%                 NA               NA
   Packaging & Fulfillment                               250              166              27.5%            20.3%                 NA               NA
   CC & Marketplace Fees                                  45               72               5.0%             8.9%                 NA               NA
   COGS4                                                 -                -                 0.0%             0.0%                 NA               NA
Total Cost of Goods Sold                                 396              417              43.5%            51.1%              56.3%            51.6%

Gross Profit                                             514              399              56.5%            48.9%              43.7%            48.4%

Operating Expenses
   Salaries and Wages                                    204              227              22.4%            27.8%                 NA               NA
   Benefits & Employer Taxes                              35               50               3.9%             6.2%                 NA               NA
   Marketing                                               1              112               0.1%            13.7%                 NA               NA
   Professional Services/Subcontracting                  239              339              26.2%            41.5%                 NA               NA
   Travel & Training                                      70               17               7.6%             2.1%                 NA               NA
   Office Expenses                                        39               16               4.2%             1.9%                 NA               NA
   Software                                                1                1               0.1%             0.2%                 NA               NA
   Equipment                                              30                2               3.3%             0.2%                 NA               NA
   R&D                                                   -                -                 0.0%             0.0%                 NA               NA
   Divinium Labs                                         -                -                 0.0%             0.0%                 NA               NA
   Other Expenses                                        150              792              16.4%            96.9%                 NA               NA
Total Operating Expenses                                 767            1,556              84.3%           190.6%              28.6%            35.0%

Officers' Compensation
    Salaries                                              -               -                 0.0%             0.0%                 NA               NA
    Bonuses                                               -               -                 0.0%             0.0%                 NA               NA
Total Officers' Compensation                              -               -                 0.0%             0.0%               2.6%             7.4%

EBITDA                                                   (253)         (1,157)            -27.8%          -141.6%              12.5%             6.0%

Depreciation & Amortization
   Depreciation                                           -               -                 0.0%             0.0%                 NA               NA
   Amortization                                           -               -                 0.0%             0.0%                 NA               NA
Total Depreciation & Amortization                         -               -                 0.0%             0.0%               1.5%             1.6%

EBIT                                                     (253)         (1,157)            -27.8%          -141.6%              12.5%             4.4%

Total Miscellaneous Income/(Expense)                      -               -                 0.0%             0.0%              -0.6%             0.0%

Interest Expense                                          -               -                 0.0%             0.0%                 NA             0.5%

Pre-Tax Income                                           (253)         (1,157)            -27.8%          -141.6%              11.9%             4.0%
   Less: Income Taxes/(Benefit)                           -               -                 0.0%             0.0%                 NA             0.9%

Net Income/(Loss)                               $        (253)   $     (1,157)            -27.8%          -141.6%              11.9%             3.0%


Growth Analysis:                                      Revenue Growth                  EBITDA Margin Growth
Subject - 1 year                                          NA       -10.2%                    NA       -409.7%
Guidline Public Company Group [4] - 1 year              3.6%         6.7%                  6.5%         15.8%
Industry [5] - 1 year [Nominal Growth Rate]             8.6%         4.2%                    NA            NA

Subject - 3 year                                           NA              NA                 NA               NA
Guideline Public Company Group - 3 year                  3.1%            3.6%               1.2%             5.2%
Industry [5] - 3 year [Nominal Growth Rate]              8.4%            6.5%                 NA               NA

Notes:
[1] Source: Refer to report for selection of public comparables group. Figures represent average of dataset as reported by S&P CapitalIQ.
[2] Source: Risk Management Association; NAICS 325620: Toilet Preparation Manufacturing for firms with annual revenues between $2MM - $10MM.
[3] Source: BizMiner Industry Financial Analysis Profile; NAICS 325620: Cosmetics Manufacturers for firms with annual revenues between $1MM - $3M
[4] Figures represent median of dataset as reported by S&P CapitalIQ.
[5] Source: IBISWorld. NAICS 325620: Toilet Preparation Manufacturing (real growth) plus inflation from https://www.usinflationcalculator.com/inflation/
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Em Cosmetics, LLC                                                                                                    Exhibit B.6
Business Valuation                                                                                   Comparative Financial Ratios
As of September 17, 2017


                                                   Subject Company                              Benchmark
                                               3.5 Mos.
                                              Annualized        FYE             Comp. [1]         RMA [2]         BizMiner [3]
                                               12-31-17       12-31-18            LTM             2017-18            2017
   Liquidity Ratios
     Current Ratio                                     5.1            40.6              2.5              1.8              3.7
     Quick (Acid-Test) Ratio                           0.0            38.4              1.4              0.8              2.4
     Working Capital as a % of Revenue               15.5%          651.1%            23.9%            20.0%            19.5%
     Days' Receivables                                  NA              NA             20.5             37.6             20.0
     Days' Inventory                                  80.6           113.4             97.0             86.9             43.7
     Days' Payables                                   15.7            58.9             60.7             39.2             26.9

   Coverage Ratios
     Times Interest Earned                              NA               NA            23.2             26.7              13.3
     NI+Non-Cash Expenditures
     / Current L.T. Debt                                NA               NA              NA                               3.32

   Leverage Ratios
     Fixed Assets/Tangible Worth                        0.0              0.0             0.3                0.5            0.2
     Debt-to-Equity                                     0.0              0.0             0.1                0.5            0.2

   Operating Ratios
    EBT/Tangible Worth                             -179.7%           -21.8%               NA           49.2%            15.2%
    EBT/Total Assets                               -144.7%           -21.2%               NA           19.7%            11.1%
    Fixed Asset Turnover                                NA               NA              6.9            14.9             16.7
    Total Asset Turnover                               5.2              0.1              1.5             2.4              2.4

     Total Officers' Compensation                     0.0%             0.0%              NA             2.6%              7.4%




Notes:
[1] Source: Refer to report for selection of public comparables group. Figures represent median of dataset as reported by S&P Capita
[2] Source: Risk Management Association; NAICS 325620: Toilet Preparation Manufacturing for firms with annual revenues between $
[3] Source: BizMiner Industry Financial Analysis Profile; NAICS 325620: Cosmetics Manufacturers for firms with annual revenues betw
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Em Cosmetics, LLC                                                                                                                                               Exhibit C
Business Valuation                                                                                                                          Stock Repurchase Transactions
As of September 17, 2017

                                                             Terms of September 17, 2017 Stock Repurchase Agreements

                Repurchase Agreement #1 IPSY-000042                       Repurchase Agreement #2 IPSY-000056                    Repurchase Agreement #3 IPSY-000070
          No. shares at closing                   13,000            No. shares at closing                  361,575             No. shares at closing             6,250
          Consideration Paid               $     988,000            Consideration Paid               $ 27,478,940              Consideration Paid         $    475,000
          Consideration Per Share          $       76.00            Consideration Per Share          $       76.00             Consideration Per Share    $      76.00
          No. shares at second closing             1,947            No. shares at second closing           107,188
          Consideration Paid               $     147,972            Consideration Paid               $   8,146,288
          Consideration Per Share          $       76.00            Consideration Per Share          $       76.00

                                             September 17, 2017 Stock Repurchase Agreements Adjusted for Cashless Exercise of Options

                Repurchase Agreement #1 IPSY-000042                       Repurchase Agreement #2 IPSY-000056                    Repurchase Agreement #3 IPSY-000070
          No. shares at closing                   13,000            No. shares at closing                  361,575             No. shares at closing             6,250
          Consideration Paid               $     988,000            Consideration Paid               $ 27,478,940              Consideration Paid         $    475,000
          Less: Options Exercise Price     $      (3,250)           Less: Options Exercise Price     $     (64,272)            Consideration Per Share    $      76.00
          Net Consideration Paid           $     984,750            Net Consideration Paid           $ 27,414,668
          Consideration Per Share          $       75.75            Consideration Per Share          $       75.82
          No. shares at second closing             1,947            No. shares at second closing           107,188
          Consideration Paid               $     147,972            Consideration Paid               $   8,146,288
          Consideration Per Share          $       76.00            Consideration Per Share          $       76.00


                                       2017 Stock Repurchases per KPMG Audited Financial Statements of Personalized Beauty Discovery dba Ipsy

             Repurchase 15 Months After September 2017                     Repurchase August & September 2017
          No. shares Repurchased                 109,135            No. shares Repurchased                 452,815
          Consideration Paid                $  8,300,000            Consideration Paid               $ 29,300,000
          Consideration Per Share           $      76.05            Consideration Per Share          $       64.71
          Actual Fair Value of Shares       $  3,100,000            Actual Fair Value of Shares      $ 12,900,000
          Per Share Value                   $      28.41            Per Share Value                  $       28.49
          Compensation Expense              $  5,200,000            Compensation Expense             $ 16,400,000


          Total Shares Repurchased                561,950
          Price Per Share                   $       76.00
          Total Consideration               $ 42,708,200
          Consideration @ $28.49 / share    $ (16,009,088)
          Excess Consideration Received     $ 26,699,112
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Executive Summary

Carl Saba is a Partner in the Forensic and Financial Consulting Service Group at Hemming Morse.
He is a recognized leader within the business valuation community, with over twenty six years of experience
advising companies on complex financial analysis and valuation issues for litigation, mergers and acquisitions, tax,
and financial reporting matters. His valuation expertise spans business valuation, valuation of intellectual property
and other intangible assets, and valuation of options and other derivatives.


Carl has led in excess of 800 valuation engagements over the last fifteen years across a broad range of industries. He
has assisted clients as a valuation expert in initial public offerings, acquisitions, corporate restructure transactions, and
bankruptcy reorganizations with transaction values exceeding $1 billion. He has also assisted clients with resolving
valuation disputes with the Internal Revenue Service (IRS), and addressing valuation inquiries and reviews by the
Public Companies Oversight Board (PCAOB), and Securities and Exchange Commission (SEC).


On litigation matters, Carl has served as an expert and testified on a wide range of complex business disputes
involving economic damages. These have included shareholder dissolution actions, business interruption,
unfair competition, trade secret misappropriation, patent infringement, alter ego, lost wages, and fraud claims.


Carl also has significant financial advisory experience in mergers and acquisitions due diligence and turnaround
management. He has lead due diligence efforts that have assisted his clients in negotiating key deal terms,
negotiated with creditors to recapitalize companies, and helped management teams define strategic direction.


Contributing to thought leadership within the valuation community is something Carl is passionate about. He
co-founded and formerly Chaired the Executive Committee of the Fair Value Forum, a business valuation expert group
dedicated to defining best practices within the profession. He also served a term as President of the Valuation
Roundtable of San Francisco and was a board member for several years. Carl has authored
several articles on cutting edge valuation topics, and teaches and lectures on the topic frequently.


Carl has an MBA from the Marshall School of Business at the University of Southern California where he graduated
with Honors. He earned his Bachelor’s degree at U.C. Berkeley’s Haas School of Business. He is a Certified Valuation
Analyst with the National Association of Certified Valuators and Analysts. He is also an Accredited Senior Appraiser
with the American Society of Appraisers, and Accredited in Business Valuation with the American Institute of Certified
Public Accountants.




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Employment & Education

2013 – Present     Hemming Morse
                   Forensic and Financial Consultants
                   Partner


2004 – 2013        Burr Pilger Mayer, Inc.
                   Certified Public Accountants and Consultants
                   Shareholder, Consulting Practice Group Leader


2003 – 2004        Comerica Bank, Palo Alto
                   Vice President / Team Leader


2003               University of Southern California
                   MBA, Finance Emphasis
                   – Graduated in top tier of class with honors
                   – Extensive graduate level coursework in finance theory, valuation, options and
                     decision analysis, statistics, and business strategy


2002               Decision Education Foundation, Menlo Park
                   Strategy Consultant, Strategic Decisions Group (Summer Internship)


1999 – 2001        Comerica Bank, Palo Alto
                   Vice President / Corporate Banking Officer


1996 – 1999        Manufacturers Bank, San Jose
                   Assistant Vice President / Corporate Banking Officer


1995               University of California, Berkeley
                   Bachelors degree in Business Administration and Finance




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Professional Credentials

■ Accredited in Business Valuation (ABV)                  ■ Certified Valuation Analyst (CVA)
 American Institute of Certified Public Accountants        National Association of Certified Valuators and
                                                           Analysts
■ Accredited Senior Appraiser (ASA)
 American Society of Appraisers                           ■ Graduate of Leadership San Francisco
                                                           Class of 2008

Professional Affilliations

■ Fair Value Forum                                        ■ American Society of Appraisers
 – Co-Founder
 – Chair, Executive Committee, 2012-2023                  ■ American Institute of Certified Public Accountants
 – Executive Committee, 2006-2023
                                                          ■ Community Legal Services, East Palo Alto
■ Valuation Roundtable of San Francisco                     – Executive Committee Board Member, 2014-2023
 – President, 2011-2012                                     – Treasurer, 2014-2023
 – Board Member, 2009-2014
                                                          ■ Beta Gamma Sigma – National Business Honor
■ National Association of Certified Valuation Analysts      Society



Publications

■ “Quantifying Personal Goodwill by Analyzing Customer    ■ “Purchase Price Allocations Under ASC 805”, A Guide 		
 Retention”, BVR Business Valuation Update Vol. 23 No.      to Allocating Purchase Price for Business
 11, November 2017                                          Combinations, BPM Insights, July 2012


■ Co-author of the valuation section of The 409A          ■ “A Fresh Start for Your Financials After Chapter 11, Fair
 Administration Handbook, Thomson Reuters,                  Value Measurements in Reorganization”, BPM 		
 2013 Edition                                               Insights, March 2012


■ “Due Diligence Can Attract, Support an Acquisition”,    ■ “Valuation Challenges for Early Stage Companies”,
 North Bay Business Journal, April 2013                     BV Wire Issue 97-4, October 2010




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Publications continued

■ “Valuation Challenges for Early Stage Companies”,             ■ “Finding Value in Valuations” – The Importance of
 BV Wire Issue 97-4, October 2010                                Valuations for Biotech Companies, Smart Business,
                                                                 2008
■ “Stock Options for Life Science Companies, 			
 Understanding the Risks, Realizing the Rewards”,               ■ “Accounting Practices for Medical Technology”, MX
 CFO.com, 2009                                                   Magazine, July/August 2007


■ “Future Equity Financing in Early Stage Company               ■ “Hot Issues in Biotech and Life Sciences”, California 		
 Valuations”, Fair Value Forum Whitepaper, 2009                  CPA, March/April 2006.


Instructions and Seminars

■ “Buy / Sell Provisions & Business Valuation in Litigation”,   ■ “To Dissolve or Not to Dissolve, Navigating the Waters
 Holland & Hart, April 2024                                      of Shareholder Disputes”, Beverly Hills Bar Association,
                                                                 June 2017
■ “Complexities and Challenges of Business Valuation in
 Litigation”, VPS Straight Talk Series Webcast, October 2023    ■ “To Dissolve or Not to Dissolve, Overview of Section 		
                                                                 2000 of the California Corporations Code”, Ventura 		
■ “Preparing your Business for a Successful 2022”, 		            County Bar Association, May 2017
 Associated General Contractors (AGC) California, June 2022
                                                                ■ “To Dissolve or Not to Dissolve, the Pros and Cons of
■ “Experts In Uncharted Waters”, Association of Business         Section 2000 of the California Corporations Code”,
 Trial Lawyers Conference , October 2021                         ProVisors Lawyers and Legal Professionals Affi nity
                                                                 Group, April 2017
■ “Auditing IRC 409A and ASC 805 Valuations”, OUM & CO,
  September 2020                                                ■ “409A and Private Companies Valuation Update”,
                                                                 American Society of Appraisers 2016 Fair Value 		
■ “Fair Value Forum Case Study – Unpacking Differences           Summit, November 2016
 Between Diverse Valuation Opinions”, American Society
 of Appraisers 2018 Fair Value Summit, November 2018            ■ “Developments in the Valuation of Early Stage
                                                                 Companies”, AICPA Webcast, June 2016
■ “Case Studies in 409A Valuations”, American Society of
 Appraisers 2017 Fair Value Summit, November 2017               ■ “Business Valuation in Litigation: Overview and
                                                                 Case Studies”, American Society of Appraisers 		
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Instructions and Seminars continued

■ “Hot Topics in Early Stage Company Valuations”,            ■ “Equity Compensation Valuation Issues - Addressing
 Montgomery & Hansen LLP, April 2016                          Situational Requirements When the Guidance is
                                                              Insufficient”, American Society of Appraisers 2013 Fair 		
■ “What CPAs Should Know About Business Valuation 		          Value Summit, November 2013
 for Estate and Gift Tax Matters”, Crawford Pimentel, 		
 January 2016                                                ■ “Mergers & Acquisitions: Better Decision Making
                                                              Through Financial Modeling”, AICPA Controllers
■ “409A Valuation Issues Update”, American Society of         Conference, November 2013
 Appraisers 2015 Fair Value Summit, November 2015
                                                             ■ “Auditing Fair Value Measurements under IRC 409, 		
■ “Developments in the Valuation of Early Stage               ASC 718, and ASC 805”, OUM & Co. LLP, September		
 Companies”, AICPA Forensic and Valuation Services             2013
 Conference, November 2015
                                                             ■ “Valuation Issues in Chapter 11 Reorganizations, Inns 		
■ “Stock Transactions as an Indication of Fair Value          of Court”, San Jose Federal Courthouse, July 2013
 in Common Stock Valuations”, American Society of
 Appraisers 2014 Fair Value Summit, November 2014            ■ “Panelist on Valuation Issues in Bankruptcy and
                                                              Financial Reporting”, Association of Insolvency and 		
■ “Valuation of Winery Brand and Operations, Building         Restructuring Advisors National Conference, June 2011
 Value in the Wine Business”, The Seminar Group,
 November 2014                                               ■ “Alternative Investments, Fair Value Issues”, San
                                                              Francisco Nonprofit Roundtable, 2009
■ “Valuation in Dissenting Shareholder Actions, Estate and
 Gift Tax Matters, and Transactions”, McCormick Barstow      ■ “The Guideline Public Company Valuation Method 		
 LLP, September 2014                                          and Minority versus Control Value Conclusion”, 		
                                                              Valuation Roundtable of San Francisco, 2009
■ “Damages and Valuation for New or Unestablished
 Businesses”, Winston & Strawn, May 2014                     ■ “Modeling Techniques for Future Rounds of Equity
                                                              Financing in Early Stage Technology and Biotech
■ “The Continued Appraisal Attack”, 2013 California Tax       Companies”, Fair Value Forum, 2009
 Policy Conference of the California Tax Bar, November
 2013                                                        ■ “Acquired Intangible Assets and Impairment Testing
                                                              Under FAS 141, 142, 144”, San Francisco State
                                                              University, 2008




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Instructions and Seminars continued

■ “FAS 157 and Mark-to-Market or Mark-to-Make Believe              ■ “Audits of Investments in Private Equity Securities, Are
 Accounting?”, Golden Gate University, 2008                         you Ready?”, San Francisco Nonprofit Roundtable, 		
                                                                    2007
■ “Analyzing Financial Statements, and Interpreting
 Financial Ratios”, Building Owners and Managers                   ■ “Valuation and Accounting under FAS 123R”, Cal 		
 Association (BOMA), 2005-2007                                      Society East Bay Business & Industry Group, 2006


■ “Valuations of Early Stage Companies”, Frost, and                ■ “Panelist on Implementation and Valuation 			
 Sullivan Medical Devices Conference, 2007                          Considerations Under FAS 123R”, Cal Society Life 		
                                                                    Sciences Industry Group, 2006
■ “Complex Capital Structures – DCF with Future Capital
 Requirements and the Impact of Existing Shareholders”,
 Valuation Roundtable of San Francisco Annual Seminar,
 2007



Testimony
Trial and Arbitration


■ DTL Transport, Inc. v. Jasdeep Singh Sidhu (2025),               ■ ASM Medical Ventures, LLC v. Tien Trinh, M.D.;
 Superior Court, Fresno County, California,                          Akira MSO, LLC. (2023), JAMS Arbitration, San Jose,
 Case No. 22CEG00117                                                 California, Case No. 1130008359


■ Carl B. Barney v. Commissioner of Internal Revenue               ■ Jack Pandol v. International Fruit Genetics et al.
  (2024), United States Tax Court, Los Angeles, California,          (2023), AAA Arbitration, Bakersfield, California,
  Docket No. 5310-22                                                Case No. 01-22-0001-1523


■ United States of America v. Rishi Shah (2024), United            ■ Jiajie Zhu v. Jing Li, and Dong Chen (2023), United
  States District Court, Northern District of Illinois, Case No.     States District Court, Northern District of California,
  19-CR-00864                                                       Case No. 4:19-cv-02534-JSW


■ Anthony Giarratano v. University of San Francisco et al.         ■ Facebook, Inc. & Subsidiaries v. Commissioner of
  (2024), Judicate West Arbitration, San Francisco, California,      Internal Revenue (2022), United States Tax Court, San
  Case No. A294998                                                   Francisco, California, Docket No. 21959-16



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Testimony continued

Trial and Arbitration continued

■ Dr. Albert Cha v. Vivo Capital, LLC and Vivo Ventures VII,    ■ Michael DiSanto v. Bingham McCutchen LLP (2016),
  LLC (2022), JAMS Arbitration, San Francisco, California,       JAMS Arbitration, San Francisco County, California,
  Case No. 1100110703                                            Case No. 1110017742


■ Jaspindar Sandhu v. Eximius Design, LLC, et. al. (2021)       ■ Gerald Laurence Trebesch v. Fall Line Capital LLC
  JAMS Arbitration, Case No. 1100104731                           (2015), American Arbitration Association (AAA), San
                                                                  Francisco County, California, Arbitration No. 01-14-001-
■ Shasikant Patel v. Nitin Desai, Town Green Enterprises,         0482
  LLC, Windsor Hospitality Group. LLC (2021) JAMS
  Arbitration, San Francisco, California, Case No. 1100107540   ■ Ellen Pao v. Kleiner Perkins Caufield & Byers (2015),
                                                                 Superior Court, San Francisco County, California,
■ Yuhui Chen v. Zining Wu, InnoGrit Corporation, Shanghai        Case Number CGC-12-520719
  Yingren Chuang Information Technology Co., Ltd. (2020)
  JAMS Arbitration, San Jose, California, Case No. 1110024169   ■ Roxanne E. Doherty v. Michael Doherty (2015),
                                                                 Superior Court, Calaveras County, California,
■ Omega Electric Supply, LLC, et al. v. Estate of Todd G.        Case Number 11CV37584
  Lewis, et al. (2019) JAMS Arbitration, Case No. 1100091778
                                                                ■ Lehman Brothers Holdings Inc., as Assignee of
■ David Senescu v. The Keating Group, Inc., et al. (2019),       Lehman Brothers Inc. v. Christopher J. Clifford
  JAMS Arbitration, Case No. 1110022437                          (2014), Financial Industry Regulatory Authority (FINRA),
                                                                  San Francisco County, California,
■ San Jose, California Unlimited Prepaid, Inc. v. Air            Arbitration No. 10-04109
  Voice Wireless, LLC (2018), JAMS Arbitration, Case No.
  1220055749                                                    ■ Evan MacMillan v. Groupon, Inc. (2014), American
                                                                  Arbitration Association, San Francisco County,
■ Robert Kindrachuk v. Norcal Urology Medical Group,              California, Case Number 74 460 00054 13
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Testimony continued

Deposition


■ DTL Transport, Inc. v. Jasdeep Singh Sidhu (2025),           ■ Annette P. Cowan v. Allergy Asthma Clinic
 Superior Court, Fresno County, California,                      Burlingame, Inc. et al. (2021), Superior Court San
 Case No. 22CEG00117                                             Mateo County, California, Case No. 19-CIV-00235


■ Preston Clark and Growthpoint Global Inc. v. Windsail        ■ Dr. Albert Cha v. Vivo Capital, LLC and Vivo Ventures
  Credit Fund L.P. (2024), Superior Court, Orange                VII, LLC (2021), JAMS Arbitration, San Francisco,
  County, Civil Complex Center, California, Case No.             California, Case No. 1100110703
  30-2021-01191735-CU-BT-CJC
                                                               ■ Jaspindar Sandhu v. Eximius Design, LLC, et. al. (2021)
■ Jason Yotopoulos v. Mach49, LLC et al. (2024), Superior        JAMS Arbitration, Case No. 1100104731
  Court, Santa Clara County, California,
 Case No. 22-CV-399097                                         ■ Kouji Yamada v. Lateef Management, LLC (2021),
                                                                 JAMS Arbitration, Case No. 1100109005
■ Anthony Giarratano v. University of San Francisco et
  al. (2024), Judicate West Arbitration, San Francisco,        ■ Anthony Scott Levandowski v. Uber Technologies,
  California, Case No. A294998                                   Inc. (2021), United States Bankruptcy Court, Northern
                                                                 District of California, San Francisco Division, Case No.
■ Premier Brain & Spine Institute Inc. v. Jill Cudia (2024),     20-30242 (HLB)
  Superior Court, Santa Clara County, California,
 Case No. 19-CV-351955                                         ■ Graystone Mortgage, LLC v. Network Funding, L.P.
                                                                 (2021), United States District Court, District of Utah
■ Marriage of Mark and Anne Woolway (2023), Superior             Central Division, Case No. 2:19-cv-00383-JNP
  Court, Contra Costa County, California,
 Case No. D20-03053                                            ■ John Nypl, et al. v. JP Morgan Chase & CO., et al.
                                                                 (2021), United States District Court, Southern District
■ Jack Pandol v. International Fruit Genetics et al. (2023),     of New York, Case No. 15 Civ. 9300 (LGS)
  AAA Arbitration, Bakersfield, California,
		Case No. 01-22-0001-1523                                     ■ Yuhui Chen v. Zining Wu, InnoGrit Corporation,
                                                                 Shanghai Yingren Chuang Information Technology
■ Herbert D. Dompe and Susan Dompe v. Stewart & Jasper           Co., Ltd. (2020) JAMS Arbitration, San Jose, California,
  Orchards et al. (2023), Superior Court Stanislaus County,      Case No. 1110024169
  California, Case No. CV-20-004626




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Testimony continued
Deposition continued



■ Matthew Pliskin, Trustee of ICPW Nevada Trust v. BDO             ■ State of California, et al. v. BP America Production
  USA, LLP (2020), American Arbritration Association (AAA)           Company, et al. (2017), Superior Court, San Francisco
  Dallas, Texas, Case No. 01-19-0000-4459                            County, California, Case No CGC-12-522063


■ Zwick Partners, LP and Aparna Rao v. Quorum Health               ■ Tamara B. Pow v. Mark Figueiredo (2017), Superior
  Corporation, et al. (2019), United States District Court           Court, Santa Clara County, California, Case Number
  Middle District of Tennessee, Case No. 3:16-cv-02475               1-15-CV-282824


■ MD Anis Uzzaman and Fenox Venture Capital Inc. v.                ■ Glen Ocal v. Kenneth S. Thom, Pier 39 Maritime
  Brandon Hill (2019), Superior Court San Mateo County,              Business Facilities, LLC dba SOMAcentral (2017),
  California, Case No. 17-CIV-02443                                  Superior Court Santa Clara County, California,
                                                                    Case Number 114CV266597
■ Omega Electric Supply, LLC, et al. v. Estate of Todd G.
  Lewis, et al. (2019), JAMS Arbitration, Case No. 1100091778      ■ Stacy Guthmann v. CC-Palo Alto, Inc. D/B/A VI at
                                                                     Palo Alto; Classic Residence Management Limited
■ Donald Norman v. Patrick Strateman, et al. and Intersango          Partnership, et al (2017), United States District Court,
  LLC (2019), Superior Court San Francisco County, California,       Northern District of California San Jose Division,
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Testimony continued
Deposition continued



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